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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


PARKERVISION, INC.,

                      Plaintiff,                 Civil Action No. 6:20-cv-00108-ADA

       vs.                                         JURY TRIAL DEMANDED

INTEL CORPORATION,

                      Defendant.


         NOTICE OF AGREED EXTENSION OF DEADLINE TO FILE REPLY

       Pursuant to the Court’s Standing Order Regarding Joint or Unopposed Request to Change

Deadlines, Defendant Intel Corporation (“Intel”) files this notice of agreed extension. On March

21, 2022, Intel filed its Opposed Motion for Further Claim Construction (DE 117). Plaintiff

ParkerVision, Inc. (“ParkerVision”) filed its Opposition to Intel’s Motion for Further Claim

Construction on April 4, 2022 (DE 121). ParkerVision agreed to Intel’s request for a one-week

extension to file a reply in support of its Motion for Further Claim Construction through and

including April 18, 2022.
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 Dated: April 7, 2022                               Respectfully submitted,

                                                    /s/ J. Stephen Ravel      .
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                              CERTIFICATE OF SERVICE

      I hereby certify that all counsel of record are being served with a copy of the foregoing

document via the Court’s CM/ECF system on April 7, 2022.


                                                  /s/ J. Stephen Ravel               .
                                                  J. Stephen Ravel




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